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                        EXHIBIT 1
      Case 2:19-cv-00285 Document 1-2 Filed on 10/01/19 in TXSD Page 2 of 58



                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                     CORPUS CHRISTI DIVISION


 YOLANDA GUERRERO AND                                        §
 FIDENCIO GUERRERO                                           §
           Plaintiffs,                                       §
                                                             §
 v.                                                          §
                                                             §             CASE NO. _______________
 STATE FARM LLOYDS                                           §
           Defendant.                                        §


                                 INDEX OF MATTERS BEING FILED
                               AND LIST OF ALL COUNSEL OF RECORD



          Defendant State Farm Lloyds (“Defendant”) submits this Index of Matters Being Filed and List of

All Counsel of Record pursuant to Local Rule 81 of the United States District Court for the Southern

District of Texas. Pursuant to the Local Rule 81, the following items are being filed with the Notice

of Removal filed by Defendant:

          1.      Index of Matters Being Filed and List of All Counsel of Record;

          2.      Copies of all executed process, pleadings asserting causes of action and all orders signed

                  by the state judge as follows:

                  A.      Plaintiffs’ Original Petition, filed August 26, 2019 (attached as Exhibit 1-A);

                  B.      Service to Defendant on September 3, 2019 (attached as Exhibit 1-B);

                  C.      Defendant’s Original Answer to Plaintiff’s Original Petition and Verified Plea in
                          Abatement, filed September 26, 2019 (attached as Exhibit 1-C);

                  D.      Defendant’s First Amended Answer to Plaintiffs’ Original Petition and Verified
                          Plea in Abatement, filed September 30, 2019 (attached as Exhibit 1-D);

          3.      A copy of the state court docket sheet (attached as Exhibit 1-E).



Index of Matters Being Filed                                                                                1 of 2
      Case 2:19-cv-00285 Document 1-2 Filed on 10/01/19 in TXSD Page 3 of 58



The parties’ respective attorneys are as follows:

          A.        ATTORNEYS FOR PLAINTIFF:

                    Stephen P. Carrigan
                    David M. Anderson
                    CARRIGAN & ANDERSON, PLLC
                    101 N. Shoreline Blvd., Suite 420
                    Corpus Christi, Texas 78401
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                    361.884.4434 Fax
                    anderson@ccatriallaw.com
                    scarrigan@ccatriallaw.com

          B.        ATTORNEYS FOR DEFENDANT:

                    Elizabeth Sandoval Cantu
                    Fed. ID No. 310028/State Bar No. 24013455
                    RAMÓN | WORTHINGTON, PLLC
                    900 Kerria Ave.
                    McAllen, Texas 78501
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                    ecantu@ramonworthington.com
                    ATTORNEY IN CHARGE FOR DEFENDANT

                    Of Counsel:
                    Sofia A. Ramon
                    Fed. ID No. 20871/State Bar No. 00784811
                    Dan K. Worthington
                    Fed. ID No. 15353/State Bar No. 00785282
                    Sarah A. Nicolas
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                    McAllen, Texas 78501
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                    efile@ramonwothington.com


Dated: October 1, 2019.




Index of Matters Being Filed                                               2 of 2
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          EXHIBIT 1-A
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                                                S-19-5838CV-A
                                 CAUSE NO.


 YOLANDA GUERRERO AND                            §              IN THE DISTRICT COURT OF
 FIDENCIO GUERRERO                               §
      Plaintiffs,                                §
                                                 §         SAN PATRICIO COUNTY, TEX—A-S
 V.                                              §
                                                 §        San Patricio County - 36th District Court

 STATE FARM LLOYDS                               §                      JUDICIAL DISTRICT
      Defendant.                                 §




                             PLAINTIFFS' ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Yolanda Guerrero and Fidencio Guerrero ("Plaintiffs" or "Guerrero"),

and files this Plaintiffs' Original Petition, complaining of State Farm Lloyds ("Lloyds" or

"Defendant"), and for cause of action, Plaintiffs would respectfully show this Honorable Court

the following:

                                DISCOVERY CONTROL PLAN

1.       Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the Texas

         Rules of Civil Procedure. This case involves complex issues and will require extensive

         discovery. Therefore, Plaintiffs will ask the Court to order that discovery be conducted in

         accordance with a discovery control plan tailored to the particular circumstances of its

         suit.

                                             PARTIES

 2.      Plaintiffs Yolanda Guerrero and Fidencio Guerrero are individuals residing in San

         Patricio County.

                                                                                     Filed 8/26/2019 12:00 AM
                                                                                     Heather B. Marks
                                                                                     District Clerk
         Processed On: 8/28/2019 8:54 AM                                             San Patricio County, Texas
         By:Melinda Barrientes, Deputy Clerk
     Case 2:19-cv-00285 Document 1-2 Filed on 10/01/19 in TXSD Page 6 of 58




3.      Defendant State Farm Lloyds ("Lloyds") is a domestic insurance company engaging in

        the business of insurance in the State of Texas. This defendant may be served with

        personal process, via certified mail, return receipt requested, by serving its registered

        agent, Corporation Service Company 211 E. 7th St., Ste. 620, Austin, Texas 78701.

                                          JURISDICTION

4.      The Court has jurisdiction over this cause of action because the amount in controversy is

        within the jurisdictional limits of the Court.

5.      The Court has jurisdiction over Defendant Lloyds because the defendant is a domestic

        insurance company that engages in the business of insurance in the State of Texas, and

        Plaintiffs' causes of action arise out of the defendant's business activities in the State of

        Texas.

                                               VENUE

6.      Venue is proper in San Patricio County, Texas, because the insured property is situated in

        San Patricio County, Texas. TEx. Civ. PRAc. & RE1v1. CoDE § 15.032.

                                               FACTS

7.      Plaintiffs are the owner of a Texas Homeowners Insurance Policy number 83-91-9900-9

        (hereinafter referred to as "the Policy"), which was issued by State Farm Lloyds.

8.      Plaintiffs own the insured property, which is specifically located at 7675 FM 2046,

        Sinton, TX 78387-9753, in San Patricio County (hereinafter referred to as "the

        Property")

9.      State Farm Lloyds sold the Policy insuring the Property to Plaintiffs.

10.     On or about August 25, 2017, a massive hurricane struck San Patricio County, Texas,

        causing significant damage to many homes and businesses throughout the region,


                                                                                              Page 2
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      including Plaintiffs property. Plaintiff's roof, interior and exterior elevations sustained

      extensive damage during the hurricane. Shortly after the hurricane, Plaintiffs submitted a

      claim to Lloyds against the Policy for the damage to the Property sustained as a result

      of the storm. Plaintiffs asked that Lloyds cover the cost of repairs to the Property

      pursuant to the Policy.

11.   The claim number assigned by Lloyds is 531221P51.

12.   Defendant Lloyds assigned an adjuster to the claim. The adjuster assigned to Plaintiffs

      claim was improperly trained and failed to perform a reasonable or adequate inspection

      of the damages. During the course of the inspection, the adjuster made the executive

      decision to deny most of Plaintiffs covered damages. This is evidenced by the adjuster's

      estimate which severely undervalued and/ or omitted the damages to both the exterior and

      interior of the home. Defendant Lloyds denied coverage to much of Plaintiffs

      outbuildings, interior and exterior damage and failed to fully compensate for damage to

      the roof and exterior elevations. To date, Plaintiffs have not received the full payment

      amount due under the Policy, nor have they received any explanation from Defendant as

      to why they ultimately issued underpayment of Plaintiff's damages.

13.   As a result of the unreasonable investigation of Plaintiff's claim (including not providing

      full coverage for the damages sustained by Plaintiffs and under-scoping the damages

      during its investigation, thus denying adequate and sufficient payment to Plaintiffs to

      repair its property), Plaintiff's claim was improperly and unreasonably adjusted. The

      mishandling of Plaintiff's claim has also caused a delay in their ability to make necessary

      repairs to the Property, which has resulted in additional and consequential damages. To




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      date, Plaintiffs have yet to receive the full payment to which they are entitled under the

      Policy.

14.   As detailed in the paragraphs below, Lloyds wrongfully denied Plaintiff's claim for

      repairs to the Property, even though the Policy provided coverage for losses such as those

      suffered by Plaintiffs. Furthermore, Lloyds underpaid some of Plaintiffs claims by not

      providing full coverage for the damages sustained by Plaintiffs, as well as under-scoping

      the damages during the investigation.

15.   To date, Lloyds continues to delay in the payment for the damages to the property. As

      such, Plaintiffs have not been paid the full amount for the damages to their property.

16.   Defendant Lloyds failed to perform its contractual duties to adequately compensate

      Plaintiffs under the terms of the Policy. Specifically, it refused to pay the full proceeds

      due under the Policy, although due demand was made for proceeds to be paid in an

      amount sufficient to cover the damaged property, and all conditions precedent to

      recovery upon the Policy had been carried out and accomplished by Plaintiffs. Lloyds's

      conduct constitutes a breach of the insurance contract between Lloyds and Plaintiffs.

17.   Defendant Lloyds misrepresented to Plaintffs that much of the damage to the Properry

      was not covered under the Policy, even though the damage was caused by a covered

      occurrence. Defendant Lloyds' conduct constitutes a violation of the Texas Insurance

      Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(1).

18.   Defendant Lloyds failed to make an attempt to settle Plaintiff's claim in a fair manner,

      although they were aware of their liability to Plaintiffs under the Policy. Defendant

      Lloyds's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

      Practices. TEX. INS. CODE §541.060(a)(2)(A).


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19.   Defendant Lloyds failed to explain to Plaintiffs the reasons for their offer of an

      inadequate settlement. Specifically, Defendant Lloyds failed to offer Plaintiffs adequate

      compensation, without any valid explanation why full payment was not being made.

      Furthermore, Defendant Lloyds did not communicate that any future settlements or

      payments would be forthcoming to pay for the entire losses covered under the Policy, nor

      did they provide any explanation for the failure to adequately settle Plaintiff s claim.

      Defendant Lloyds' conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE §541.060(a)(3).

20.   Defendant Lloyds refused to fully compensate Plaintiffs, under the terms of the Policy,

      even though Defendant Lloyds failed to conduct a reasonable investigation. Specifically,

      Defendant Lloyds performed an outcome-oriented investigation of Plaintiff's claim,

      which resulted in a biased, unfair, and inequitable evaluation of Plaintiff's losses on the

      Property. Defendant Lloyds's conduct constitutes a violation of the Texas Insurance

      Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(7).

21.   Defendant Lloyds failed to meet its obligation under the Texas Insurance Code regarding

      timely acknowledging Plaintiffs' claim, beginning and investigation of Plaintiff's claim

      and requesting all information reasonably necessary to investigate Plaintiff s claim,

      within the statutorily mandated time of receiving notice of Plaintiff's claim. Defendant

      Lloyds' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

      Practices. TEX. INS. CODE §542.055.

22.   Defendant Lloyds failed to accept or deny Plaintiff's full and entire claim within failed to

      accept or deny Plaintiff's full and entire claim within the statutorily mandated time of




                                                                                           Page 5
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       receiving all necessary information. Lloyds' conduct constitutes a violation of the Texas

       Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.056.

23.    Defendant Lloyds failed to meet its obligations under the Texas Insurance Code

       regarding payment of claim without delay. Specifically, it has delayed full payment of

       Plaintiff s claim longer than allowed, and, to date, Plaintiffs have not received full

       payment for the claim. Lloyds's conduct constitutes a violation of the Texas Insurance

       Code, Prompt Payment of Claims. TEX. INS. CODE §542.058.

24. . From and after the time Plaintiffs claim was presented to Defendant Lloyds, the liability

       of Lloyds to pay the full claim in accordance with the terms of the Policy was reasonably

       clear. However, Lloyds has refused to pay Plaintiffs in full, despite there being no basis

       whatsoever on which a reasonable insurance company would have relied to deny the full

       payment. Lloyds' conduct constitutes a breach of the common law duty of good faith and

       fair dealing.

25.    Defendant Lloyds knowingly or recklessly made false representations, as described

       above, as to material facts and/or knowingly concealed all or part of material information

       from Plaintiffs.

26.    As a result of Defendant Lloyds' wrongful acts and omissions, Plaintiffs were forced to

       retain the professional services of the attorney and law firm who are representing them

       with respect to these causes of action.

                                    CAUSES OF ACTION:

                          CAUSES OF ACTION AGAINST LLOYDS

                  NONCO1bIPLIANCE WITPI TEXAS INSURANCE CODE:
                        UNFAIR SETTLEMENT PRACTICES




                                                                                          Page 6
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27.   Defendant Lloyds is liable to Plaintiffs for intentional breach of contract, as well as

      intentional violations of the Texas Insurance Code and intentional breach of the common

      law duty of good faith and fair dealing.


                                   IaREACH OF CONTRACT

28.   Defendant Lloyds' conduct constitutes a breach of the insurance contract made between

      Lloyds and Plaintiffs.

29.   Defendant Lloyds' failure and/or refusal, as described above, to pay the adequate

      compensation as it is obligated to do under the terms of the Policy in question, and under

      the laws of the State of Texas, constitutes a breach of Lloyds's insurance contract with

      Plaintiffs.

                     NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                           UNFAIR SETTLEMENT PRACTICES

30.   Defendant Lloyds' conduct constitutes multiple violations of the Texas Insurance Code,

      Unfair Settlement Practices. TEx. INs. CoDE §541.060(a). All violations under this

      article are made actionable by TEX. INS. CoDE §541.151.

31.   Defendant Lloyds' unfair settlement practice, as described above, of misrepresenting to

      Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method of

      competition and an unfair and deceptive act or practice in the business of insurance. TEX.

      INS. CODE §541.060(a)(1).

32.   Defendant Lloyds' unfair settlement practice, as described above, of failing to attempt in

      good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

      Lloyds' liability under the Policy was reasonably clear, constitutes an unfair method of




                                                                                           Page 7
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      competition and an unfair and deceptive act or practice in the business of insurance. TEx.

      INS. CODE §541.060(a)(2)(A).

33.   Defendant Lloyds' unfair settlement practice, as described above, of failing to promptly

      provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to

      the facts or applicable law, for its offer of a compromise settlement of the claim,

      constitutes an unfair method of competition and an unfair and deceptive act or practice in

      the business of insurance. TEx. INS. CODE §541.060(a)(3).

34.   Defendant Lloyds' unfair settlement practice, as described above, of failing within a

      reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

      reservation of rights to Plaintiffs, constitutes an unfair method of competition and an

      unfair and deceptive act or practice in the business of insurance. TEx. INS. CODE

      §541.060(a)(4).

35.   Defendant Lloyds' unfair settlement practice, as described above, of refusing to pay

      Plaintiff's claim without conducting a reasonable investigation, constitutes an unfair

      method of competition and an unfair and deceptive act or practice in the business of

      insurance. TBx. INS. CODE §541.060(a)(7).

                     NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                           THE PROMPT PAYMENT OF CLAIMS

36.   Defendant Lloyds' conduct constitutes multiple violations of the Texas Insurance Code,

      Prompt Payment of Claims. All violations made under this article are made actionable by

      TEx. Irrs. CODE §542.060.

37.   Defendant Lloyds' failure to acknowledge receipt of Plaintiff's claim, commence

      investigation of the claim, and request from Plaintiffs all items, statements, and forms

      that it reasonably believed would be required within the applicable time constraints, as


                                                                                          Page 8
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      described above, constitutes a non-prompt payment of claims and a violation of TEx. INs.

      CoDE §542.055.

38.   Defendant Lloyds' failure to notify Plaintiffs in writing of its acceptance or rejection of

      the claim within the applicable time constraints constitutes a non-prompt payment of the

      claim. TEx. INs. CoDE §542.056.

39.   Defendant Lloyds' delay of the payment of Plaintiffs claim following its receipt of all

      items, statements, and forms reasonably requested and required, longer than the amount

      of time provided for, as described above, constitutes a non-prompt payment of the claim.

      TEx. INs. CoDE §542.058.

                 BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

40.   Defendant Lloyds' conduct constitutes a breach of the common law duty of good faith

      and fair dealing owed to insureds in insurance contracts.

41.   Defendant Lloyds' failure, as described above, to adequately and reasonably investigate

      and evaluate Plaintiff's claim, although at that time Lloyds knew or should have known

      by the exercise of reasonable diligence that its liability was reasonably clear, constitutes a

      breach of the duty of good faith and fair dealing.

                                            KNOWLEDGE

42.   Each of the acts described above, together and singularly, was done "knowingly," as that

      term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs

      damages described herein.




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                                          DAMAGES

43.   Plaintiffs would show that all of the aforementioned acts, taken together or singularly,

      constitute the producing causes of the damages sustained by Plaintiffs.

44.   As previously mentioned, the damages caused by the storm have not been properly

      addressed or repaired in the time since the event, causing further damages to the Property,

      and causing undue hardship and burden to Plaintiffs. These damages are a direct result of

      Defendant Lloyds' mishandling of Plaintiffls claim in violation of the laws set forth

      above.

45.   For breach of contract, Plaintiffs are entitled to regain the benefit of the bargain, which is

      the amount of the claim, together with attorney's fees.

46.   For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

      Plaintiffs are entitled to actual damages, which include the loss of the benefits that should

      have been paid pursuant to the policy, mental anguish, court costs, and attorney's fees.

      For knowing conduct of the acts described above, Plaintiffs ask for three times their

      actual damages. TEx. INs. CoDE §541.152.

47.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

      entitled to the amount of their claim, as well as eighteen (18) percent interest per annum

      on the amount of such claim as damages, together with attorney's fees. TEx. INS. CODE

      §542.060.

48.   For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled

      to compensatory damages, including all forms of loss resulting from the insurer's breach

      of duty, such as additional costs, economic hardship, losses due to nonpayment of the

      amount the insurer owed, exemplary damages, and damages for emotional distress.



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49.    For the prosecution and collection of its claim, Plaintiffs have been compelled to engage

       the services of the attorney whose name is subscribed to this pleading. Therefore,

       Plaintiffs are entitled to recover a sum for the reasonable and necessary services of

       Plaintiff's attorney in the preparation and trial of    its action, including any appeals to

       the Court of Appeals and/or the Supreme Court of Texas.

                                         JURY DEMAND

50.    Plaintiffs hereby request that all causes of action alleged herein be tried before a jury

       consisting of citizens residing in San Patricio County, Texas.

                                    WRITTEN DISCOVERY

                                   REQUESTS FOR DISCLOSURE

51.    Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is requested to

       disclose, within 50 days of service of this request, the information or material described

       in Texas Rule of Civil Procedure 194.2.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

Plaintiffs have and recover such sums as would reasonably and justly compensate it in

accordance with the rules of law and procedure, as to actual damages, treble damages under the

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiffs request the award of attorney's fees for the trial and any appeal of its case, for all costs

of Court on its behalf expended, for prejudgment and postjudgment interest as allowed by law,

and for any other and further relief, either at law or in equity, to which it may show itself justly

entitled. In accordance with Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs seek

monetary relief over $200,000 but not more than $1,000,000.



                                                                                              Page 11
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                                      Respectfully submitted,

                                      CARRIGAN & ANDERSON, PLLC

                                      /s/David M. Anderson
                                      David M. Anderson
                                      State Bar No. 24064815
                                      Stephen P. Carrigan
                                      State Bar No. 03877000
                                      101 N. Shoreline Blvd., Suite 420
                                      Corpus Christi, Texas 78401
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                                      anderson(a-),ccatriall aw.com
                                      scarri an ,ccatriallaw.com

                                      ATTORNEYS FOR PLAINTIFFS




                                                                          Page 12
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                                                                                                                            U.S.POSTAGEDDPITNEYBOWES

        Heather B. .tllarks
          District Clerk
       San Patricio County
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     Sinton, TX 78387-1084    7 o.a,090 oae2 ,a,. 7347




                                                                          State Farm Lloyds,
                                                                    by serving its Registered Agent,
                                                                    Corporation Service Company
                                                                         211 E. 7Tx St., Ste 620
                                                                          Austin, Texas 78701




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           EXHIBIT 1-B
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20337276
Notice of Service of Process                                                                            Date Processed: 09/04/2019

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Lloyds
                                              Entity ID Number 3461674
Entity Served:                                State Farm Lloyds
Title of Action:                              Yolanda Guerrero vs. State Farm Lloyds
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 San Patricio County District Court, TX
Case/Reference No:                            S-19-5838CV-A
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/03/2019
Answer or Appearance Due:                     10:00 a.m. on the Monday next following the expiration of 20 days after served
                                              citation
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           David M. Anderson
                                              361-884-4433

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                    Case 2:19-cv-00285 Document 1-2 Filed on 10/01/19 in TXSD Page 20 of 58



        HEATHER B. MARKS                                                                                                    DAVID M. ANDERSON
        SAN PATRICIO DISTRICT CLERK                                                                                 CARRIGAN & ANDERSON, PLLC
        P.O. BOX 1084                                                                                                    101 N. SHORELINE BLVD.
        SINTON, TX 78387                                                                                                               SUITE 420
                                                                                                                       CORPUS CHRISTI, TX 78401




TO:
              STATE FARM LLOYDS CITATION BY CERTIFIED MAIL


            REGISTERED AGENT: CORPORATION SERVICE COMPANY
                                                                                                                                  IMN
            211 E. 7TH STREET, SUITE 620
            AUSTIN, TEXAS 78701
NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a
written answer with the clerk who issued the citation by 10:00 a.m. on the Monday next following the expiration of
twenty (20) days after you were served this citation and petition, a default judgment may be taken against you." ,

Said ANSWER may be filed by mailing same to: District Clerk of San Patricio County, P.O. Box 1084, Sinton, TX
78387 or by bringing it to the District Clerk's Office located on the second floor of the Courthouse at 400 W. Sinton St.,
Sinton, TX. The said petition was filed in this case on August 26, 2019, numbered S-19-5838CV-A on the docket of said
Court, and styled,

                                       YOLANDA GUERRERO AND FIDENCIO GUERRERO, Plaintiffs
                                                                        V.
                                                    STATE FARM LLOYDS, Defendant

The nature of Plaintiff's demand is fully shown by a true and correct copy of PLAINTIFFS' ORIGINAL PETITION
accompanying this citation and made a part hereof.

Issued and given under my hand and seal of said Court at Sititbn;\Te'x~'s/t~iYs •on this the 29th day of August, 2019.
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                                                                                                                               Heather B. ar District    k
                                                                                                                                   San P Ltric o oun Iex
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                                                                                                   .1.,                          . . . . . . . . . . . . .   .
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                                CERTIFICATE OF DELIVERY'~Y CERTIFIED MAIL
         Came to hand on the 29`" day of August, 2019 at 12:45pm and executed the 29 day of August 2019 by mailing
the same to STATE FARM LLOYDS (REGISTERED AGENT: CORPORATION SERVICE COMPANY), Defendant
by certified mail, return receipt requested, a true copy of this citation with a copy of the petition attached thereto.

                                                                     3
                                                                                                              HEATHER B. MARKSf isi
                                                                   `,•~
                                                                                                              SAN PA CIO CO T
                                                            :
                                                                                 ~'•        ~°°° ' BY:
                                                                                                                  Melinda Barrient , Deputy

                                                             -~il~ .                       ~•      zJ .       .
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           EXHIBIT 1-C
      Case 2:19-cv-00285 Document 1-2 Filed on 10/01/19 in TXSD Page 22 of 58



                                    CAUSE NO. S-19-5838CV-A

 YOLANDA GUERRERO AND                                   §               IN THE DISTRICT COURT
 FIDENCIO GUERRERO                                      §
                                                        §
 v.                                                     §                  36TH JUDICIAL DISTRICT
                                                        §
 STATE FARM LLOYDS                                      §       SAN PATRICIO COUNTY, TEXAS


      DEFENDANT’S ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES TO
                   PLAINTIFFS’ ORIGINAL PETITION



TO THE HONORABLE JUDGE OF THE COURT:

        NOW COME, STATE FARM LLOYDS, Defendant in the above styled and numbered

cause, and files this Original Answer and Affirmative Defenses to Plaintiffs’ Original Petition, and in

support thereof would respectfully show the Court the following:

                                            I.
                                        GENERAL DENIAL

1.      Reserving the right to file other further pleadings, exceptions and/or denials, Defendant

generally denies each and every material allegation contained in Plaintiffs’ Original Petition and

demands strict proof thereof in accordance with the laws and the Rules of Civil Procedure of the

State of Texas.

                                          II.
                                   AFFIRMATIVE DEFENSES
2.      Defendant denies that notice and/or proof of loss or claim for damages has been given as

required by the Texas Insurance Code. Specifically, Plaintiffs have failed to provide notice as required

by TEX. INS. CODE §541.154 and §542A.003. Specifically, Plaintiffs sent State Farm a letter dated

August 22, 2018 that failed to comply with Section 542A.003(b) because (1) Plaintiffs failed to

provide State Farm sufficient notice of the specific facts that give rise to Plaintiffs’ complaint instead
                                                                                      Filed 9/26/2019 9:54 AM
                                                                                      Heather B. Marks
                              Processed On: 9/26/2019 10:20 AM                        District Clerk
                              By:Melinda Barrientes, Deputy Clerk                     San Patricio County, Texas
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reciting general violations as set out by the Texas Insurance Code, (2) Plaintiffs state their contract

damages are $20,000.00 for repairs to the loss, but also reserve the right to adjust those amounts at a

later time (3) Plaintiffs also failed to provide the hourly rate and number of hours used to calculate

incurred attorney’s fees. Plaintiffs state they have incurred $1,750.00 in attorney’s fees but failed to

provide the hourly rate or number of hours used to calculate the amount of reasonable and necessary

attorney’s fees incurred, as required by TEX. INS. CODE §542A.003.

3.      State Farm Lloyds pleads the limitations on Plaintiffs’ possible recovery of attorney’s fees as

set forth in Sections 542A of the Texas Insurance Code and, in particular, that Plaintiffs not be

awarded any attorney’s fees under Section 542A.007(c), should it apply, or, alternatively, that any

award of attorney’s fees to Plaintiffs be limited to the lesser of the amounts set forth in Section

542A.007(a)(1), (2), or (3) should Section 542A.007(c) not apply. State Farm Lloyds further pleads

all other limitations on Plaintiffs’ possible recovery of attorney’s fees set forth elsewhere in Section

542A of the Texas Insurance Code.

4.      Defendant pleads TEX. INS. CODE §542A.007(d) and asserts it was not provided, but was

entitled to, pre-suit notice regarding attorney’s fees and their method of calculation, as set out by

TEX. INS. CODE §542A.003(b)(2), at least 61 days before the date the action was filed by claimants,

and thus this Defendant seeks the Court deny any award of attorney’s fees to Plaintiffs, incurred after

the date the Defendant files this pleading with the Court.

5.      Plaintiffs also failed to timely provide the statutorily required notice to Defendant prior to

filing this lawsuit, as they failed to serve them with notice of the specific complaint and the amount

of actual damages and expenses, including attorney’s fees reasonably incurred in asserting the claim

against the other person. TEX. INS. CODE §541.154.

6.      Defendant denies Plaintiffs have performed the conditions precedent to bringing suit.




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7.      Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it violated

Chapter 541 of the Texas Insurance Code as alleged by Plaintiffs.

8.      Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it violated

Chapter 542 of the Texas Insurance Code as alleged by Plaintiffs.

9.      Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it knowingly

violated Chapter 541 or 542 of the Texas Insurance Code as alleged by Plaintiffs.

10.     Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it intentionally

violated Chapter 541 or 542 of the Texas Insurance Code as alleged by Plaintiffs.

11.     State Farm specifically denies that it has breached the policy of insurance issued to Plaintiffs

in any respect.

12.     State Farm specifically denies that Plaintiffs sustained a loss covered under their policy of

insurance.

13.     State Farm specifically denies that it has breached the duty of good faith and fair dealing in

any respect.

14.     State Farm specifically denies that any misrepresentations were made regarding the facts or

policy provisions relating to coverage under the policy issued by State Farm to Plaintiffs.

15.     State Farm specifically denies that it made any actionable misrepresentation to Plaintiffs.

16.     State Farm specifically denies that it knowingly and intentionally violated the Texas Insurance

Code.

17.     State Farm asserts that Plaintiffs cannot recover on any of Plaintiffs’ claims because any

damage allegedly suffered by Plaintiffs did not result from, and was not proximately caused by, any

wrongful conduct on the part of State Farm.

18.     Because Plaintiffs failed to satisfy one or more conditions precedent to recovery, Defendant

State Farm is excused from performing under the contract.



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19.     Accordingly, Plaintiffs have no cause of action against Defendant for which relief can be

granted. Such failures include, but are not limited to the following: Plaintiffs’ failed to promptly

notify Defendant about some or all of the alleged damages, Plaintiffs have specifically failed to prove

their alleged damages are losses covered under the policy and/or they have failed to segregate the

portion of their alleged damages that are covered from the portion that is not covered.

20.     State Farm asserts Plaintiffs cannot recover on any of Plaintiffs’ claims because any damage

allegedly suffered by Plaintiffs in connection with the complained-of transaction was caused by

Plaintiffs’ failure to mitigate damages.

21.     Plaintiffs’ causes of action also fail because there exists a bona fide and legitimate dispute

between State Farm and Plaintiffs with regard to the legal construction of certain policy provisions

and exclusions and the nature, extent and cause of damages.

22.     State Farm specifically denies that liability was reasonably clear.

23.     Defendant further pleads that Plaintiffs are unable to establish by clear and convincing

evidence that Defendant acted with malice; therefore, under Section 41.001(7) of the Texas Civil

Practices and Remedies Code, Plaintiffs are not entitled to exemplary and/or punitive damages. See,

e.g., Smith v. O’Donnell, 288 S.W. 3d 417, 423-424 (Tex. 2009); see also Dillard Department Stores, Inc. v.

Silva, 148 S.W. 3d 370, 373-374 (Tex. 2004); Universal Services Co. v. Ung, 904 S.W. 2d 638, 640-641

(Tex. 1995).

24.     Further, to any extent Plaintiffs seek any recovery of exemplary and/or punitive damages in

this action, the same violates Article I, § 13 of the Texas Constitution and the Eighth Amendment

of the United States Constitution and violates the rights of Defendant to substantive and procedural

due process as provided in Article 1, § 19 of the Texas Constitution and the Fifth and Fourteenth

Amendments of the United States Constitution. See Cooper Industries, Inc. v. Leatherman Tool Group,

Inc., 532 U.S. 424, 433-434 (2001); see also BMW Corp. of N. America, Inc. v. Gore, 517 U.S. 559, 562



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(1996). Moreover, as a matter of state and federal constitutional law and sound public policy, any

findings supporting an award of exemplary damages must be based on clear and convincing evidence,

not a mere preponderance of the evidence. Cf. TEX. CIV. PRAC. & REM. CODE ANN. § 41.003

(2014) (clear and convincing evidentiary standard).

25.     To the extent Plaintiffs pray for punitive, exemplary, or otherwise enhanced damages, such

request should be denied because it violates the equal protection rights guaranteed by the Fifth and

Fourteenth Amendments to the Constitution of the United States and the provisions of the Eighth

Amendment to the Constitution of the United States.

26.     With respect to Plaintiffs’ claims for damages, any award of punitive damages must be limited

to the greater of: (1) two times the amount of economic damages plus an amount equal to any non-

economic damages found by the jury, not to exceed $750,000; or (2) $200,000, pursuant to the

statutory mandates of Chapter 41 of the Texas Civil Practice & Remedies Code. Defendant reserves

the right to seek a bifurcation of any punitive damage issues at the trial of this case as permitted by

Chapter 41 of the Texas Civil Practice & Remedies Code.

27.     Plaintiffs’ claims under Section 542 of the Texas Insurance Code (“Prompt Payment of

Claims”) are barred, in whole or in part, because Plaintiffs do not provide a written notice of claim

reasonably apprising Defendant of the facts relating to the claim.

28.     Plaintiffs attempt to state claims and seek damages for alleged violations of the Texas

Insurance Code, but Plaintiffs have failed to comply with the statutorily mandated conditions in order

to obtain any relief under the statute. Specifically, Chapter 541 and 542A of the Texas Insurance

Code requires, as a prerequisite to bringing any action for damages, that a complaining party give

written notice to a defending party at least sixty (60) days before filing suit. Plaintiffs’ pre-suit

notification or demand must meet specific requirements set forth in the statute and provide

Defendant sixty (60) days to respond prior to bringing any suit. See TEX. INS. CODE §541.154(a) and



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§542A.003. Plaintiffs have failed to provide Defendant notice as required by Chapter 541 and 542A

of the Texas Insurance Code.

29.     Under the Insuring Agreement, Plaintiffs bear the burden to prove damage resulting from an

occurrence of accidental, direct, physical loss to the insured property during the policy period.

Plaintiffs lack proof that any additional damages resulted from any accidental, direct, physical loss

during the policy period.

30.     Defendant is entitled to an offset or credit against Plaintiffs’ damages, if any, in the amount

of Plaintiffs’ applicable deductible(s).

31.     Defendant is entitled to an offset or credit against Plaintiffs’ damages, if any, in the amount

of all payments Defendant State Farm has previously made to or on behalf of Plaintiffs under the

policy insuring this property for the same damages claimed in this suit, if any.

32.     Defendant is entitled to an offset or credit against Plaintiffs’ damages, if any, in the amount

of all payments Defendant State Farm has made to or on behalf of Plaintiffs under the policy at issue

in this lawsuit, arising from the claim made the basis of this lawsuit.

33.     Defendant’s liability, if any, is limited to the amount of the policy limits under the policy at

issue in this suit, and/or any other clauses contained in the policy sued upon.

34.     Plaintiffs’ claims are barred, in whole or in part, to the extent certain damages and losses as

alleged in Plaintiffs’ Original Petition, or latest live pleading, none being admitted, were proximately

caused in whole or in part by non-covered losses and/or events and/or at non covered losses by the

terms and exclusions of the policy.

35.     Defendant hereby also asserts all conditions of the policy at issue including but not limited

to all terms, deductibles, limitations on coverage, exclusions set out in the Rental Dwelling Policy

regarding personal property, including that the total of all payments for the item shall not exceed the

smaller of the following:



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             1. Our cost to replace the personal property item at the time of loss;

             2. The full cost of repair;

             3. Any special limit of liability described in the policy;

             4. Any applicable Coverage B limit of liability.

Further, Defendant asserts the loss settlement provision of the policy which stats of the property is

not replacement or repaired within two years after the date of loss, we will pay only the cost to repair

or replace less depreciation.

36.     Defendant hereby also asserts all conditions of the policy at issue including but not limited

to all terms, deductibles, limitations on coverage, exclusions set out in the Rental Dwelling Policy,

including but not limited to the following:

                              SECTION I- LOSSES NOT INSURED


                 1.    We do not insure for any loss to the property described in
                 Coverage A and Coverage B either consisting of, or directly and
                 immediately caused by, one or more of the following:

                          h.      continuous or repeated seepage or leakage of water or
                          steam from a:
                                     (1) heating, air conditioning or automatic fire protective
                                     sprinkler system;
                                     (2) household appliance; or
                                     (3) plumbing system, including from, within or around
                                      any shower stall, shower tub, tub installation, or other
                                      plumbing fixture, including their walls, ceilings or
                                      floors
                          which occurs over a period of time.
                          i.       wear, tear, marring, scratching, deterioration, inherent
                          vice, latent defect or mechanical breakdown;
                          j.    rust, mold, or wet or dry rot;

                          m. settling, cracking, shrinking, bulging, or expansion of pavements,
                          patios, foundations, walls, floors, roofs or ceilings;


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                 3.       We do not insure under any coverage for any loss consisting of
                 one or more of the items below. Further, we do not insure for loss
                 described in paragraphs 1. and 2. Immediately above regardless of
                 whether one or more of the following: (a) directly or indirectly cause,
                 contribute to or aggravate the loss; or (b) occur before, at the same time,
                 or after the loss of any other cause of the loss:
                 b.       defect, weakness, inadequacy, fault or unsoundness in:
                          (2) design, specifications, workmanship, construction, grading,
                          compaction;
                          (3) materials used in construction or repair; or
                          (4) maintenance;
37.     Additionally, Defendant asserts the loss settlement provision of this policy which states in

part:

                                    SECTION I -CONDITIONS

Loss Settlement. Covered property losses are settled as follows:

        a.       Personal property and structures that are not buildings at actual cash value, up
        to the applicable limit of liability, at the time of loss. There may be deduction for
        depreciation. We will not pay an amount exceeding that necessary to repair or replace;
        b.       Carpeting, domestic appliances, awnings and outdoor antennas, whether or
        not attached to buildings, at actual cash value, up to the applicable limit of liability, at
        the time of loss. We will not pay an amount exceeding that necessary to repair or
        replace;
        c.       Buildings under Coverage A at replacement cost without deduction for
        depreciation, subject to the following:
        (1)      We will not pay more than the $10,000 limit on Land as provided in SECTION
        I, ADDITIONAL COVERAGES.
        (2)      We will pay the cost of repair or replacement, without deduction for
        depreciation, but not exceeding the smallest of the following amounts:
                 (a)     the limit of liability under this policy ap-plying to the building;
                 (b)     the replacement cost of that part of the building damaged for
                         equivalent construction and use on the same premises; or
                 (c)     the amount actually and necessarily spent to repair or replace the dam-
                         aged building.
        (3)      We will pay the actual cash value of the damage to the buildings, up to the
        policy limit, until actual repair or replacement is completed.




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38.     To the extent applicable, Defendant contends Plaintiffs’ causes of action fail because

Plaintiffs’ damages occurred prior to the inception of the policy period at issue in this suit. Pursuant

to the policy, coverage is limited to loss which occurs within the time period during which the Policy

was in effect:

                   SECTION I AND SECTION II - CONDITIONS

             1. Policy Period. This policy applies only to loss under Section I … or property
                damage under Section II which occurs during the period this policy is in
                effect.

39.     Defendant asserts Plaintiffs failed to comply with their Duties After Loss in that they failed

to give immediate notice of a loss, to the extent they allege property damage not previously reported.

40.     A bona fide/legitimate dispute exists precluding Plaintiffs from recovery of damages under

extra-contractual theories including the common law duty of good faith and fair dealing, violations

of the Texas Insurance Code, or under any other statutory or common law authority.

41.     Plaintiffs are precluded from recovering any attorney fees under the doctrine of excessive

demand. “The dispositive inquiry for determining whether a demand is excessive is whether the

claimant acted unreasonably or in bad faith …. If a claimant demands monies to which they [sic] are

not entitled, that demand is unreasonable and consequently excessive.” See Wayne v. A.V.A. Vending,

Inc., 52 S.W. 3d 412, 418 (Tex. App. – Corpus Christi 2001, pet. denied) (citing Findlay v. Cave, 611 S.W.

2d 57, 58 [Tex. 1981] and Ingham v. Harrison, 148 Tex. 380, 385-386, 224 S.W. 2d 1019, 1022 [1949]).m

42.     Defendant also asserts the Suit Against Us provision of the policy which precludes Plaintiffs’

suit against Defendant unless there has been compliance with the policy provisions and the action is

brought within the time period set out in the policy.

43.     Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs’ alleged damages

or losses were caused or aggravated by the actions or inactions of Plaintiffs, persons acting on

Plaintiffs’ behalf, or third parties for whom Defendants are not legally responsible.


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44.     In the alternative, and to the extent, if any, that other persons or entities caused any of the

damages supposedly sustained by Plaintiffs, then State Farm Lloyds was and is subrogated to

Plaintiffs’ claims against and entitled to reimbursement from all such other persons or entities by

virtue of the payment or payments made or to be made by State Farm Lloyds incident to Plaintiffs’

insurance claim.

45.     Defendant demands a trial by jury.



                                              IV.
                                       TRCP 193.7 NOTICE
46.     Pursuant to Texas Rules of Civil Procedure 193.7, any and all documents produced by

Plaintiffs in response to Defendant’s written discovery is intended to be used by Defendant and shall

be deemed as properly authenticated for use against Plaintiffs in any pretrial proceeding or trial of

this case.

                                                  V.
                                              PRAYER
        WHEREFORE, PREMISES CONSIDERED, Defendant STATE FARM LLOYDS

requests judgment of the Court that Plaintiffs takes nothing by this suit, and that Defendant be

awarded costs and such other and further relief to which they may be justly entitled.




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                                                     Respectfully submitted,

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                                                     900 Kerria Ave.
                                                     McAllen, Texas 78501
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                                                     /s/ Elizabeth Sandoval Cantu
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                                                     Electronic Service to:
                                                     efile@ramonworthington.com

                                                     ATTORNEYS FOR DEFENDANT



                                CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on September 26, 2019 a true and correct copy of the foregoing
document was served via e-File Texas.gov to the following:
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Attorneys for Plaintiffs


                                                     /s/ Elizabeth Sandoval Cantu
                                                     Elizabeth Sandoval Cantu




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           EXHIBIT 1-D
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                                               CAUSE NO. S-19-5838CV-A

         YOLANDA GUERRERO AND                                        §        IN THE DISTRICT COURT
         FIDENCIO GUERRERO                                           §
                                                                     §
         v.                                                          §          36TH JUDICIAL DISTRICT
                                                                     §
         STATE FARM LLOYDS                                           §    SAN PATRICIO COUNTY, TEXAS


                                  DEFENDANT’S FIRST AMENDED ANSWER
                                   TO PLAINTIFFS’ ORIGINAL PETITION
                                   AND VERIFIED PLEA IN ABATEMENT



        TO THE HONORABLE JUDGE OF THE COURT:

                NOW COMES STATE FARM LLOYDS, Defendant in the above styled and numbered

        cause, and files this its First Amended Original Answer to Plaintiffs’ Original Petition and Verified

        Plea in Abatement to Plaintiffs’ Original Petition, and in support thereof would respectfully show the

        Court the following:

                                                 I.       GENERAL DENIAL

        1.      Reserving the right to file other further pleadings, exceptions and/or denials, Defendant

        generally denies each and every material allegation contained in Plaintiffs’ Original Petition and

        demands strict proof thereof in accordance with the laws and the Rules of Civil Procedure of the State

        of Texas.

                          II.      VERIFIED DENIAL AND AFFIRMATIVE DEFENSES


        2.      Defendant denies that notice and/or proof of loss or claim for damages has been given as

        required by the Texas Insurance Code. Specifically, Plaintiffs have failed to provide notice as required

        by TEX. INS. CODE §541.154 and §542A.003. Specifically, Plaintiffs sent State Farm a letter dated

        August 22, 2018 that failed to comply with Section 542A.003(b) because (1) Plaintiffs failed to provide
Processed On: 9/30/2019 10:42 AM                                                           Filed 9/30/2019 10:35 AM
                                                                                           Heather B. Marks
By:Rosie Soliz, Deputy Clerk                                                               District Clerk
                                                                                           San Patricio County, Texas
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State Farm sufficient notice of the specific facts that give rise to Plaintiffs’ complaint instead reciting

general violations as set out by the Texas Insurance Code, (2) Plaintiffs state their damages are

$27,000.00 for repairs to the loss, but also reserves the right to adjust those amounts at a later time (3)

Plaintiffs also failed to provide the hourly rate and number of hours used to calculate incurred

attorney’s fees. Plaintiffs state they have incurred $1,750.00 in attorney’s fees but failed to provide the

hourly rate or number of hours used to calculate the amount of reasonable and necessary attorney’s

fees incurred, as required by TEX. INS. CODE §542A.003.

3.      State Farm Lloyds pleads the limitations on Plaintiffs’ possible recovery of attorney’s fees as

set forth in Sections 542A of the Texas Insurance Code and, in particular, that Plaintiffs not be

awarded any attorney’s fees under Section 542A.007(c), should it apply, or, alternatively, that any award

of attorney’s fees to Plaintiffs be limited to the lesser of the amounts set forth in Section

542A.007(a)(1), (2), or (3) should Section 542A.007(c) not apply. State Farm Lloyds further pleads all

other limitations on Plaintiffs’ possible recovery of attorney’s fees set forth elsewhere in Section 542A

of the Texas Insurance Code.

4.      Defendant pleads TEX. INS. CODE §542A.007(d) and asserts it was not provided, but was

entitled to, pre-suit notice regarding attorney’s fees and their method of calculation, as set out by TEX.

INS. CODE §542A.003(b)(2), at least 61 days before the date the action was filed by claimants, and thus

this Defendant seeks the Court deny any award of attorney’s fees to Plaintiffs, incurred after the date

the Defendant files this pleading with the Court.

5.      Plaintiffs also failed to timely provide the statutorily required notice to Defendant prior to

filing this lawsuit, as they failed to serve them with notice of the specific complaint and the amount

of actual damages and expenses, including attorney’s fees reasonably incurred in asserting the claim

against the other person. TEX. INS. CODE §541.154.




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6.      Defendant denies Plaintiffs have performed the conditions precedent to bringing suit.

Pursuant to Texas Rule of Civil Procedure 54, and without limitation, Defendant denies that Plaintiffs

have provided proper written notice as required by Insurance Code Chapter 542, and has failed to

comply with the terms and provisions of the policy, including but not limited to the Suits Against Us

provision, has failed to protect the property from further damage, and has failed to make damages

claimed in this lawsuit available for inspection. Defendant reserves the right to supplement.

7.      Because Plaintiffs failed to satisfy one or more conditions precedent to recovery, Defendant

State Farm is excused from performing under the contract. Pursuant to Texas Rule of Civil Procedure

54, Defendant denies that Plaintiff has complied with all policy terms and conditions, including but

not limited to the Suits Against Us provisions, and failed to provide written notice as required by

Chapter 542 of the Texas Insurance Code. Defendant reserves the right to amend and supplement

this answer.

8.      Defendant specifically denies it violated Chapter 541 of the Texas Insurance Code as alleged

by Plaintiffs.

9.      Defendant specifically denies it violated Chapter 542 of the Texas Insurance Code as alleged

by Plaintiffs.

10.     Defendant specifically denies it knowingly or intentionally violated Chapter 541 or 542 of the

Texas Insurance Code as alleged by Plaintiffs.

11.     Defendant specifically denies that it has breached the policy of insurance issued to Plaintiffs

in any respect.

12.     Defendant specifically denies that Plaintiffs sustained a loss covered under their policy of

insurance.

13.     Defendant specifically denies that it has breached the duty of good faith and fair dealing in

any respect.



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14.     Defendant specifically denies that any misrepresentations were made regarding the facts or

policy provisions relating to coverage under the policy issued by State Farm to Plaintiffs.

15.     Defendant specifically denies that it made any actionable misrepresentation to Plaintiffs.

16.     Defendant specifically denies that it knowingly or intentionally violated the Texas Deceptive

Trade Practices Act and the Texas Insurance Code.

17.     Defendant asserts that Plaintiffs cannot recover on any of Plaintiffs’ claims because any

damage allegedly suffered by Plaintiffs did not result from, and was not proximately caused by, any

wrongful conduct on the part of State Farm.

18.     Accordingly, Plaintiffs have no cause of action against Defendant for which relief can be

granted. Such failures include, but are not limited to the following: Plaintiffs’ failed to promptly notify

Defendant about some or all of the alleged damages, Plaintiffs have specifically failed to prove their

alleged damages are losses covered under the policy and/or they have failed to segregate the portion

of their alleged damages that are covered from the portion that is not covered.

19.     Defendant asserts Plaintiffs cannot recover on any of Plaintiffs’ claims because any damage

allegedly suffered by Plaintiffs in connection with the complained-of transaction was caused by

Plaintiffs’ own negligence and/or lack of due diligence.

20.     Plaintiffs’ causes of action also fail because there exists a bona fide and legitimate dispute

between Defendant and Plaintiffs with regard to certain policy provisions and exclusions and the

nature, extent and cause of damages.

21.     Defendant specifically denies that liability was reasonably clear.

22.     Defendant further pleads that Plaintiffs are unable to establish by clear and convincing evidence

that Defendant acted with malice; therefore, under Section 41.001(7) of the Texas Civil Practices and

Remedies Code, Plaintiffs are not entitled to exemplary and/or punitive damages. See, e.g., Smith v.




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O’Donnell, 288 S.W. 3d 417, 423-424 (Tex. 2009); see also Dillard Department Stores, Inc. v. Silva, 148 S.W.

3d 370, 373-374 (Tex. 2004); Universal Services Co. v. Ung, 904 S.W. 2d 638, 640-641 (Tex. 1995).

23.     Further, to any extent Plaintiffs seek any recovery of exemplary and/or punitive damages in

this action, the same violates Article I, § 13 of the Texas Constitution and the Eighth Amendment of

the United States Constitution and violates the rights of Defendant to substantive and procedural due

process as provided in Article 1, § 19 of the Texas Constitution and the Fifth and Fourteenth

Amendments of the United States Constitution. See Cooper Industries, Inc. v. Leatherman Tool Group, Inc.,

532 U.S. 424, 433-434 (2001); see also BMW Corp. of N. America, Inc. v. Gore, 517 U.S. 559, 562 (1996).

Moreover, as a matter of state and federal constitutional law and sound public policy, any findings

supporting an award of exemplary damages must be based on clear and convincing evidence, not a

mere preponderance of the evidence. Cf. CIV. PRAC. & REM. CODE ANN. § 41.003 (2014) (clear

and convincing evidentiary standard).

24.     To the extent Plaintiffs pray for punitive, exemplary, or otherwise enhanced damages, such

request should be denied because it violates the equal protection rights guaranteed by the Fifth and

Fourteenth Amendments to the Constitution of the United States and the provisions of the Eighth

Amendment to the Constitution of the United States.

25.     With respect to Plaintiffs’ claims for damages, any award of punitive damages must be limited

to the greater of: (1) two times the amount of economic damages plus an amount equal to any non-

economic damages found by the jury, not to exceed $750,000; or (2) $200,000, pursuant to the

statutory mandates of Chapter 41 of the Texas Civil Practice & Remedies Code. Defendant reserves

the right to seek a bifurcation of any punitive damage issues at the trial of this case as permitted by

Chapter 41 of the Texas Civil Practice & Remedies Code.

26.     Plaintiffs’ claims under Section 542 of the Texas Insurance Code are barred, in whole or in

part, because Plaintiffs do not provide a written notice of claim.



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27.        Plaintiffs attempt to state claims and seek damages for alleged violations of the Texas

Insurance Code, but Plaintiffs have failed to comply with the statutorily mandated conditions in order

to obtain any relief under the statute. Specifically, Chapter 541 and 542A of the Texas Insurance Code

requires, as a prerequisite to bringing any action for damages, that a complaining party give written

notice to a defending party at least sixty (60) days before filing suit. Plaintiffs’ pre-suit notification or

demand must meet specific requirements set forth in the statute and provide Defendant sixty (60)

days to respond prior to bringing any suit. See TEX. INS. CODE §541.154(a) and §542A.003. Plaintiffs

have failed to provide Defendant notice as required by Chapter 541 and 542A of the Texas Insurance

Code.

28.        Under the Insuring Agreement, Plaintiffs bear the burden to prove damage resulting from an

occurrence of accidental, direct, physical loss to the insured property during the policy period.

Plaintiffs lack proof that any additional damages resulted from any accidental, direct, physical loss

during the policy period.

29.        Defendant is entitled to an offset or credit against Plaintiffs’ damages, if any, in the amount of

Plaintiffs’ applicable deductible(s).

30.        Defendant is entitled to an offset or credit against Plaintiffs’ damages, if any, in the amount of

all payments Defendant has previously made to or on behalf of Plaintiffs under the policy insuring

this property for the same damages claimed in this suit, arising from the claim made the basis of this

lawsuit.

31.        Defendant’s liability, if any, is limited to the amount of the policy limits under the policy at

issue in this suit, and/or any other clauses contained in the policy sued upon.

32.        Plaintiffs’ claims are barred, in whole or in part, to the extent certain damages and losses as

alleged in Plaintiffs’ Original Petition, or latest live pleading, none being admitted, were proximately




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caused in whole or in part by non-covered losses and/or events and/or at non covered losses by the

terms and exclusions of the policy.

33.     Defendant hereby also asserts all conditions of the policy at issue including but not limited to

all terms, deductibles, limitations on coverage, exclusions set out in the Policy, including but not

limited to the following:

                            SECTION I- LOSSES NOT INSURED


                 1.      We do not insure for any loss to the property described in
                 Coverage A which consists of, or is directly and immediately caused by,
                 one or more of the perils listed in item a. through n. below, regardless of
                 whether the loss occurs suddenly or gradually, involves isolated or
                 widespread damage, arises from natural or external forces or occurs as a
                 result of any combination of these:
                                                   ***


                 g.       wear, tear, marring, scratching, deterioration, inherent vice, latent
                          defect or mechanical breakdown;
                 h.       corrosion, electrolysis or rust;
                 i.       mold, fungus or wet or dry rot;


                 3.      We do not insure under any coverage for any loss consisting of one
                 or more of the items below. Further, we do not insure for loss described
                 in paragraphs 1. and 2. Immediately above regardless of whether one or
                 more of the following: (a) directly or indirectly cause, contribute to or
                 aggravate the loss; or (b) occur before, at the same time, or after the loss
                 of any other cause of the loss:
                 a.       conduct, act, failure to act, or decision of any person, group,
                          organization or governmental body whether intentional, wrongful,
                          negligent or without fault.
                 b.       defect, weakness, inadequacy, fault or unsoundness in:
                          (2) design, specifications, workmanship, construction, grading,
                              compaction;
                          (3) materials used in construction or repair; or
                          (4) maintenance;



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                 c.       weather conditions.
                               SECTION I- LOSSES NOT INSURED
                               (as modified by Endorsement FE-5398)
                 Item 1.i. is replaced with the following:
                          i.     wet or dry rot.

34.     Additionally, the Policy provides that actual repair or replacement of the damaged property is

a condition precedent to payment of the claim at replacement cost value. Plaintiffs have failed to make

actual repairs or replacement of the damaged property; thus, they are only entitled to recover the actual

cash value at the time of loss for the damaged property. The Policy states as follows:

                                   SECTION I – LOSS SETTLEMENT

                                                   * * * * *
        1.       A1 – Replacement Cost Loss Settlement – Similar Construction.


             a. We will pay the cost to repair or replace with similar construction and for the same
                use on the premises shown in the Declarations, the damaged part of the property
                covered under SECTION I – COVERAGES, COVERAGE A – DWELLING,
                except for wood fences, subject to the following:

                          (1) until actual repair or replacement is completed, we will pay only the actual
                              cash value at the time of the loss of the damaged part of the property, up
                              to the applicable limit of liability shown in the Declarations, not to exceed
                              the cost to repair or replace the damages part of the property;
                          (2) when the repair or replacement is actually completed, we will pay the
                              covered additional amount you actually and necessarily spend to repair or
                              replace the damaged part of the property, or an amount up to the
                              applicable limit of liability shown in the Declarations, whichever is less;
                          (3) to receive any additional payments on a replacement cost basis, you must
                              complete the repair or replacement of the damaged part of the property
                              within two years after the date of loss, and notify us within 30 days after
                              the work has been completed; and
                          (4) we will not pay for increased costs resulting from enforcement of any
                              ordinance or law regulating the construction, repair or demolition of a
                              building or other structure, except as provided under Option OL –
                              Building Ordinance or Law Coverage.




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              b. Wood Fences: We will pay the actual cash value at the time of loss for loss or damage
                 to wood fences, not to exceed the limit of liability shown in the Declarations for
                 COVERAGE A - DWELLING EXTENSION.

35.       Plaintiffs’ causes of action fail because Plaintiffs’ damages occurred prior to the inception of

the policy period at issue in this suit. Pursuant to the following provision of the policy, coverage is

limited to loss which occurs within the time period during which the Policy was in effect:

                   SECTION I AND SECTION II - CONDITIONS

              a. Policy Period. This policy applies only to loss under Section I … which
                 occurs during the period this policy is in effect.

36.       Defendant asserts Plaintiffs failed to comply with their Duties After Loss in that they failed to

give immediate notice of a loss, to the extent they allege property damage not previously reported.

37.       Under Texas law, Plaintiffs cannot recover consequential damages for breach or repudiation

of an insurance policy. See Standard Fire Insurance Co. v. Fraiman, 588 S.W. 2d 681, 683 (Tex. Civ. App.

– Houston [14th Dist.] 1979, writ ref’d n.r.e.); Gross v. Connecticut General Life Insurance Co., 390 S.W.

2d 388, 390 (Tex. Civ. App. – El Paso 1965, no writ); see also Universe Life Insurance Co. v. Giles, 950

S.W. 2d 48, 60 (Tex. 1997) (Hecht, J., concurring in judgment) (insured’s remedy for breach of

contract “does not ordinarily include consequential damages”).

38.       Plaintiffs are precluded from recovering any attorney fees under the doctrine of excessive

demand. “The dispositive inquiry for determining whether a demand is excessive is whether the

claimant acted unreasonably or in bad faith …. If a claimant demands monies to which they [sic] are

not entitled, that demand is unreasonable and consequently excessive.” See Wayne v. A.V.A. Vending,

Inc., 52 S.W. 3d 412, 418 (Tex. App. – Corpus Christi 2001, pet. denied) (citing Findlay v. Cave, 611 S.W.

2d 57, 58 (Tex. 1981) and Ingham v. Harrison, 148 Tex. 380, 385-386, 224 S.W. 2d 1019, 1022 (Tex.

1949)).




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39.       Defendant also asserts the Suit Against Us provision of the policy which precludes Plaintiffs’

suit against Defendant unless there has been compliance with the policy provisions and the action is

brought within 2 years and one day after the cause of action accrues.

40.       Plaintiffs’ claims are barred, in whole or in part, to the extent that granting the relief alleged by

Plaintiffs would result in unjust enrichment.

41.       To the extent Plaintiffs failed to make repairs or replacement paid for by Defendant,

Defendant asserts failure to mitigate as an affirmative defense to any exacerbated damage caused as a

result.

42.       Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs’ alleged damages or

losses were caused or aggravated by the actions or inactions of Plaintiffs, persons acting on Plaintiffs’

behalf, or third parties for whom Defendant is not legally responsible.

43.       Plaintiffs’ claims are barred, in whole or in part, to the extent Plaintiffs allege or otherwise

seeks to invoke the doctrines of waiver or estoppel in this action. The doctrines of waiver and estoppel

cannot be used to change, re-write or otherwise enlarge the risks covered by an insurance policy, and

may not be used to establish coverage for risks expressly excluded from the insurance policy. See, e.g.,

Minnesota Mutual Life Insurance Co. v. Morse, 487 S.W. 2d 317, 319 (Tex. 1972); Washington National

Insurance Co. v. Craddock, 109 S.W. 2d 165, 166-167 (Tex. 1937); Great American Reserve Insurance Co. v.

Mitchell, 335 S.W. 2d 707, 708 (Tex. App. – San Antonio 1960, writ ref’d n.r.e.).

44.       In the alternative, and to the extent, if any, that other persons or entities caused any of the

damages supposedly sustained by Plaintiffs, then Defendant was and is subrogated to Plaintiffs’ claims

against and entitled to reimbursement from all such other persons or entities by virtue of the payment

or payments made or to be made by State Farm Lloyds incident to Plaintiffs’ insurance claim.




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                                         III.       VERIFIED PLEA IN ABATEMENT

A.        INTRODUCTION AND BACKGROUND FACTS

45.       On August 26, 2019, Plaintiffs filed an Original Petition against Defendant State Farm Lloyds.

Plaintiffs’ Original Petition asserts causes of action against State Farm based upon the handling of

Claim No. 53-1221-P51, a claim for damage to the Plaintiffs’ property located at 7675 FM 2046,

Sinton, Texas 78387-9753, as a result of a “massive hurricane” that occurred on or about August 25,

2017 1.

46.       Plaintiffs’ Original Petition seeks damages based on an alleged breach of the insurance contract

and alleged violations of the Texas Insurance Code, §541 and §542.

47.       However, Plaintiffs filed their Original Petition without providing Defendant the statutory

notice required by the Texas Insurance Code. Specifically, Plaintiffs sent State Farm a letter dated

August 22, 2018 that failed to comply with Section 542A.003(b) because (1) Plaintiffs failed to provide

State Farm sufficient notice of the specific facts giving rise to Plaintiffs’ complaint instead reciting

general violations as set out by the Texas Insurance Code, and Plaintiffs’ general statement that

$27,000.00 is owed under the policy does not comply with the intent of the statute; and (2) Plaintiffs

also failed to provide the amount of reasonable and necessary attorney’s fees incurred by the claimant’s

attorney, as of the date the notice is given and as reflected in contemporaneously kept time records,

by an hourly rate that is customary for similar legal services. Plaintiffs state, instead, they have incurred

$1,750.00 in attorney’s fees but fail to provide the hourly rate and number of hours used to calculate

the amount of reasonable and necessary attorney’s fees incurred by the claimant. TEX. INS. CODE

§542A.003.

48.       Abatement of this action is mandatory under TEX. INS. CODE § 542A.005(b), because

Plaintiffs failed to comply with Section 541 and 542A.003(b) of the Texas Insurance Code, and


1         See Plaintiff’s Original Petition, ¶IV.



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Defendant has timely filed this Verified Plea in Abatement less than 30 days after it filed their Original

Answer.

B.      ARGUMENT AND AUTHORITIES

49.     Texas House Bill 1774, which added Chapter 542A to the Texas Insurance Code, became

effective for actions filed on or after September 1, 2017. TEX. INS. CODE § 542A.001, et seq. Chapter

542A applies to a “first-party claim . . . made by an insured under an insurance policy providing

coverage for real property or improvements to real property . . . [that] arises from damage or loss of

covered policy caused, wholly or partly, by forces of nature, including . . . hail, wind, . . . or a rainstorm.”

TEX. INS. CODE § 542A.001(2)(A) & (C). Because Plaintiffs’ action was filed after September 1, 2017

and asserts first party insurance claims arising from hurricane damage 2 that allegedly damaged

Plaintiffs’ residential property, Chapter 542A applies. 3

50.     In accordance with Texas Insurance Code Section 542A.003, any “person” 4 against whom or

which an action is filed to recover damages is entitled to written notice of each claimant’s specific

complaints against them, the alleged amount of actual damages being sought, and a calculation of

attorney’s fees purportedly incurred by the claimant as reflected in contemporaneously-kept time

records not later than the 61st day before the suit is filed. TEX. INS. CODE § 542A.003 specifically

provides:

        In addition to any other notice required by law or the applicable insurance
        policy, not later than the 61st day before the date a claimant files an action to
        which this chapter applies in which the claimant seeks damages from any person,
        the claimant must give written notice to the person in accordance with this
        section as a prerequisite to filing the action.




2
        See Plaintiff’s Original Petition, ¶IV.
3       Texas Insurance Code §542A.
4
        As defined by Chapter 542A, “‘person’ means a corporation, association, partnership, or other legal entity or individual.”
        TEX. INS. CODE § 542A.001(5).


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        The notice required under this section must provide:
        a statement of the acts or omissions giving rise to the claim;
        the specific amount alleged to be owed by the insurer on the claim for damage
        to or loss of covered property; and


        the amount of reasonable and necessary attorney’s fees incurred by the claimant,
        calculated by multiplying the number of hours actually worked by the
        claimant’s attorney, as of the date the notice is given and as reflected in
        contemporaneously kept time records, by an hourly rate that is customary for
        similar legal services. Id. (emphasis added).


        Additionally, if the claimants’ attorney provides the notice, the attorney must
        also provide a copy of the notice to the claimant and state in the notice that
        notice was provided to the claimant. TEX. INS. CODE §542A.003(c).
51.     Giving proper notice under Chapter 542A of the Texas Insurance Code does not relieve a

claimant of their “obligation to give notice under any other applicable law.” TEX. INS. CODE

§542A.001(f). Thus, providing the notice required by §542A.003 does not relieve a Plaintiffs from

providing the notice required by Section 541.154 of the Texas Insurance Code, which contains a

similar notice requirement.

52.     Giving timely and proper written notice prior to asserting legal claims under the Texas

Insurance Code is no mere formality. The Texas courts of appeals have repeatedly recognized the

purpose of statutory pre-suit notice requirements are to discourage litigation and encourage

settlements of complaints by insureds against their insurer. See, e.g., In re Cypress Tex. Lloyds, 437 S.W.3d

1, 7 (Tex. App. – Corpus Christi 2011, orig. proceeding).

53.     Furthermore, the pre-suit notice requirement of the Texas Insurance Code is important

because it provides the person who is entitled to proper notice, whether an insurance company or an

insurance adjuster, an opportunity “to limit his [or its] damage exposure through an offer of

settlement, as contemplated by sections 541.156-.159 of the Insurance Code.” In re Behr, 2006 WL



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468001 at *2-3 (Tex. App. – San Antonio 2006, orig. proceeding) (mem. op.); see TEX. INS. CODE

§§ 541.156-541.159. Timely statutory notice also provides the recipient with a statutory window in

which to demand an inspection of the property that is the subject of the claim. TEX. INS. CODE §

542A.004. 5 The statutory opportunity to demand a property inspection allows the insurer to

investigate, and possibly resolve, the insured’s dispute without the necessity of litigation. Compare TEX.

INS. CODE § 542A.005(b) (court may abate action to allow property inspection) and § 542A.005(f)

(court may not compel participation in an alternative dispute resolution proceeding until after the

abatement period has expired).

54.     Plaintiffs fail to provide the proper pre-suit notice. While Counsel for Plaintiffs sent State

Farm a letter that purports to comply with Section 542A and Section 541 of the Texas Insurance

Code, the letter failed to meet the requirements of the Texas Insurance Code in at least two material

respects.

55.     First, Plaintiffs have failed to provide State Farm Lloyds with sufficient notice of the specific

facts that give rise to Plaintiffs’ complaint. Section 542A.003(b)(1) states the notice must provide “a

statement of the acts or omissions giving rise to the claim.” The Insurance Code requires Plaintiffs to

set forth specific factual allegations to support their complaint; conclusory allegations and recitations

of boilerplate complaints do not meet the requisite standard. C.f. Nationwide Prop. & Cas. Ins. Co., No.

H-10-1651, 2010 WL 2636119 at *1-2. (S.D. Tex. 2010).

56.     However, Plaintiffs’ “statement of the acts or omissions giving rise to the claim” consists

almost entirely of boilerplate complaints. See Exhibit A. Plaintiffs describe the claim and damages in

general terms. See id. Though Plaintiffs state their home suffered damage to the roof, exterior




5
        If an inspection of the property is requested under Texas Insurance Code Section 542A.004, but the party
        requesting the inspection is not provided a reasonable opportunity to inspect, photograph, or evaluate the
        property, abatement is also required. TEX. INS. CODE § 542A.004(b)(2).


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elevations and interior, this conclusory, non-specific and general allegation falls well short of the notice

required by the Insurance Code.

57.     While Plaintiffs purport to state “the specific amount alleged to be owed by the insurer on the

claim for damage to or loss of covered property” as required by Section 542A.003(b)(2), without the

corresponding factual assertions that identify what was omitted (i.e. the acts or omissions) from

Defendant’s estimate and payments, the statement that $27,000.00 is “owed under the policy” does

not effectuate the purpose of the statute.

58.     Second, Plaintiffs admit in the letter itself that they have failed to provide the amount of

reasonable and necessary attorney’s fees they have incurred as required by Section 542A.003(b)(3)

which states Plaintiffs must identify the amount of attorney’s fees “incurred,” based on the hours their

attorney “actually worked” “as of the date [of] the notice” and substantiated by “contemporaneously

kept time records.” See TEX. INS. CODE § 542A.003(b). Plaintiffs state $1,750.00 as reasonable and

necessary attorney’s fees “incurred,” but acknowledge that this is not calculated based on the number

of hours actually worked based on contemporaneously kept time records. See Exhibit A. Plaintiffs fail

to state how many hours their attorneys actually worked as of the date of the letter and fail to include

the hourly rate applied to those services. See id.

59.     Because Plaintiffs failed to provide Defendant with the proper written notice under Sections

542A.003 of the Texas Insurance Code and Section 541.154 of the Texas Insurance Code before they

filed suit, this lawsuit must be abated until the 60th day after the date a notice complying with Texas

Insurance Code Section 542A.003 and Texas Insurance Code 541.151 is provided. See TEX. INS. CODE

§ 542A.005(e)(1); TEX. INS. CODE. § 541.155(d). Defendant State Farm moves this Court to abate this

lawsuit because of the lack of proper, compliant pre-suit notice, as required under the Texas Insurance

Code.




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60.     As Defendant filed this Verified Plea in Abatement not later than the 30th day after they filed

their Original Answer, the abatement of this lawsuit is automatic beginning on the 11th day after

Defendant’s Verified Plea in Abatement is filed unless Plaintiffs controvert by affidavit Defendant’s

denial that the proper statutory notice was given before they filed suit. See TEX. INS. CODE

§542A.005(c); TEX. INS. CODE. § 541.155(d).

                                                 IV.      PRAYER
        WHEREFORE, PREMISES CONSIDERED, Defendant STATE FARM LLOYDS requests

judgment of the Court that Plaintiffs takes nothing by this suit, and that Defendant be awarded costs

and such other and further relief to which they may be justly entitled.

                                                              Respectfully submitted,

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                                                              McAllen, Texas 78501
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                                      CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on September 30, 2019, a true and correct copy of the foregoing
document was served via e-File Texas.gov to the following:
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                                                                  /s/ Elizabeth Sandoval Cantu
                                                                  Elizabeth Sandoval Cantu




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              EXHIBIT A
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                                                                  Clm #1P51
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                               SF PLEA IN ABATEMENT (Guerrero, Yolanda) 0002
                                                                  Clm #1P51
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                               SF PLEA IN ABATEMENT (Guerrero, Yolanda) 0003
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                               SF PLEA IN ABATEMENT (Guerrero, Yolanda) 0004
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           EXHIBIT 1-E
     Case 2:19-cv-00285 Document 1-2  Filed
                                   EVENT    on 10/01/19 in TXSD Page 58 of 58
                                         SHEET
                                            CASE SUMMARY
                                          CASE NO. S-19-5838CV-A
 YOLANDA GUERRERO AND FIDENCIO                              §                      Location: 36th District Court
GUERRERO, Plaintiffs                                        §               Judicial Officer: Bauer, Starr Boldrick
v.                                                          §                      Filed on: 08/26/2019
STATE FARM LLOYDS, Defendant                                §

                                                CASE INFORMATION

                                                                                Case Type: Consumer/Commercial/Debt


  DATE                                    EVENTS & ORDERS OF THE COURT

 09/30/2019       Answer
                 Def's First Amended Answer to Pltf's Original Petition and Verified Plea in Abatement
 09/26/2019       Answer
                 Party: Defendant STATE FARM LLOYDS
                 DEFENDANT'S ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS' ORIGINAL
                 PETITION
 08/29/2019   Service by Certified Mail
                  STATE FARM LLOYDS
              Served: 09/03/2019

 08/29/2019        Citation by Certified Mail
                 ISS TO STATE FARM LLOYDS-#7018 3090 0002 1882 7347
 08/26/2019       Request for Issuance

 08/26/2019       Original Petition (OCA)




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